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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

ANTHONY FANIA on behalf of                    :
herself and others similarly situated,        : CIVIL ACTION FILE NO.
                                              :
       Plaintiff,                             :
                                              :
v.                                            : COMPLAINT – CLASS ACTION
                                              :
KIN INSURANCE, INC.                           :
                                              : JURY TRIAL DEMANDED
       Defendant.                             :
                                              :
                                          /

      Plaintiff Anthony Fania (hereinafter referred to as “Plaintiff”), individually

and on behalf of all others similarly situated, alleges on personal knowledge,

investigation of his counsel, and on information and belief, as follows:


                             NATURE OF ACTION

      1.     As the Supreme Court has explained, “Americans passionately

disagree about many things. But they are largely united in their disdain for

robocalls. The Federal Government receives a staggering number of complaints

about robocalls—3.7 million complaints in 2019 alone. The States likewise field a

constant barrage of complaints. For nearly 30 years, the people’s representatives in

Congress have been fighting back. As relevant here, the Telephone Consumer

Protection Act of 1991, known as the TCPA, generally prohibits robocalls to cell
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 phones and home phones.” Barr v. Am. Ass'n of Political Consultants, 140 S. Ct.

 2335, 2343 (2020).

         2.     This case involves a campaign by KIN Insurance, Inc. (“KIN

 Insurance”) to market their insurance services through unsolicited pre-recorded

 telemarketing calls without the prior express consent of the call recipients.

         3.     Mr. Fania received such a call and because these calls were

 transmitted using technology capable of generating thousands of similar calls per

 day, the Plaintiff sues on behalf of a proposed nationwide class of other persons.

                                       PARTIES

         4.     Plaintiff Anthony Fania is an individual.

         5.     Defendant KIN Insurance, Inc. is a Delaware corporation with its

 principal place of business in this District and a Registered Agent of The

 Corporation Company, 40600 Ann Arbor Rd., Suite 201, Plymouth, MI 48170.

                               JURISDICTION AND VENUE

       6.       This Court has federal question jurisdiction pursuant to 28 U.S.C. §

1331 and 47 U.S.C. § 227 et seq.

       7.       This Court has general jurisdiction over KIN Insurance, Inc. because

it resides in this District.




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      8.       Venue is proper pursuant to 28 U.S.C. § 1391(b) because the TCPA

violative conduct to Plaintiff was directed from this District.

                               TCPA BACKGROUND

        9.     In 1991, Congress enacted the TCPA to regulate the explosive growth

 of the telemarketing industry. In so doing, Congress recognized that

 “[u]nrestricted telemarketing . . . can be an intrusive invasion of privacy [.]”

 Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, § 2(5) (1991)

 (codified at 47 U.S.C. § 227).

 The TCPA Prohibits Automated Telemarketing Calls

        10.    The TCPA makes it unlawful “to make any call (other than a call

 made for emergency purposes or made with the prior express consent of the called

 party) using an automatic telephone dialing system or an artificial or prerecorded

 voice … to any telephone number assigned to a … cellular telephone service…or

 any service for which the called party is charged for the call.” See 47 U.S.C. §

 227(b)(1)(A)(iii).

        11.    The TCPA provides a private cause of action to persons who receive

 calls in violation of 47 U.S.C. § 227(b)(1)(A). See 47 U.S.C. § 227(b)(3).

        12.    The TCPA also makes it unlawful to initiate any telephone call to any

 residential telephone line using an artificial or prerecorded voice to deliver a


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message without the prior express consent of the called party. See 47 U.S.C. §

227(b)(1)(B).

      13.    According to findings by the Federal Communication Commission

(“FCC”), the agency Congress vested with authority to issue regulations

implementing the TCPA, such calls are prohibited because, as Congress found,

automated or prerecorded telephone calls are a greater nuisance and invasion of

privacy than live solicitation calls, and such calls can be costly and inconvenient.

      14.    In 2013, the FCC required prior express written consent for all

autodialed or prerecorded telemarketing calls (“robocalls”) to wireless numbers,

services for which the called party is charged for the call, and residential lines.

Specifically, it ordered that:

      [A] consumer’s written consent to receive telemarketing robocalls must
      be signed and be sufficient to show that the consumer: (1) received
      “clear and conspicuous disclosure” of the consequences of providing
      the requested consent, i.e., that the consumer will receive future calls
      that deliver prerecorded messages by or on behalf of a specific seller;
      and (2) having received this information, agrees unambiguously to
      receive such calls at a telephone number the consumer designates.[] In
      addition, the written agreement must be obtained “without requiring,
      directly or indirectly, that the agreement be executed as a condition of
      purchasing any good or service.[]”

In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of

1991, 27 F.C.C. Rcd. 1830, 1844 (2012) (footnotes omitted).



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                           FACTUAL ALLEGATIONS

      15.    The Defendant is a “person” as the term is defined by 47 U.S.C.

§ 153(39).

      16.    KIN Insurance provides insurance services.

      17.    At no point prior to the telemarketing calls that Plaintiff received that

led to this lawsuit, did the Plaintiff seek out or solicit information regarding the

mortgage services promoted by KIN Insurance.

      18.    Plaintiff’s telephone number, 973-XXX-1248, has been on the

National Do Not Call Registry since 2004.

      19.    Despite this, the Plaintiff received a pre-recorded telemarketing call

from the Defendant on August 29, 2022.

      20.    The recorded message asked if the call recipient was looking for home

insurance.

      21.    The Plaintiff recognized he was speaking to a robot, so he interrupted

the recorded message asked the robot a question.

      22.    There was no response from the robot because the call was pre-

recorded.

      23.    The Plaintiff was then told by a live agent that they were calling from

KIN Insurance.


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      24.     The Plaintiff then received another call from Tamely Jobs, who was

following up on the pre-recorded call that the Plaintiff received, and continued to

promote the Defendant’s services.

      25.     All class members, as defined below, have had their privacy invaded

through receipt of the telemarketing calls.

                                 Class Action Allegations

      26.     As authorized by Rule 23(b)(2) and/or (b)(3) of the Federal Rules of

Civil Procedure, Plaintiff brings this action on behalf of a class of all other persons

or entities similarly situated throughout the United States.

      27.     The Class of persons Plaintiff proposes to represent is tentatively

defined as:

      All persons within the United States to whom: (a) Defendant and/or a
      third party acting on their behalf, made one or more non-emergency
      telephone calls; (b) to a cellular telephone number; (c) using the same
      or a similar recorded message used in calling Plaintiff; and (d) at any
      time in the period that begins four years before the date of the filing of
      this Complaint to trial.

      28.     Excluded from the Class is the Defendant, and any entities in which

the Defendant has a controlling interest, the Defendant’s agents and employees,

any judge to whom this action is assigned and any member of such judge’s staff

and immediate family.



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      29.    The class as defined above is identifiable through phone records and

phone number databases.

      30.    The potential class members number is likely at least in the thousands,

since automated telemarketing campaigns make calls to hundreds or thousands of

individual a day. Individual joinder of these persons is impracticable.

      31.    Plaintiff Fania is a member of the class.

      32.    There are questions of law and fact common to Plaintiff and to the

proposed Class, including but not limited to the following:

             a.     Whether Defendant made the calls at issue with a pre-recorded

      message as that term is defined by the TCPA;

             b.     Whether Defendant placed calls without obtaining the

      recipients’ prior consent for the call; and

             c.     Whether the Plaintiff and the class members are entitled to

      statutory damages because of Defendant’s actions.

      33.    Plaintiff’s claims are typical of the claims of class members.

Plaintiff’s claims, like the claims of the Class arise out of the same common course

of conduct by Defendant and are based on the same legal and remedial theories.

      34.    Plaintiff is an adequate representative of the class because his interests

do not conflict with the interests of the Class, he will fairly and adequately protect


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the interests of the Class, and he is represented by counsel skilled and experienced

in class actions, including TCPA class actions.

      35.    Common questions of law and fact predominate over questions

affecting only individual class members. The only individual question concerns

identification of class members, which will be ascertainable from records

maintained by Defendant and/or its agents.

      36.    Management of these claims is likely to present significantly fewer

difficulties than are presented in many class claims because the calls at issue are all

automated. Class treatment is superior to multiple individual suits or piecemeal

litigation because it conserves judicial resources, promotes consistency and

efficiency of adjudication, provides a forum for small claimants, and deters illegal

activities. There will be no significant difficulty in the management of this case as

a class action.

      37.    The likelihood that individual members of the Class will prosecute

separate actions is remote due to the time and expense necessary to prosecute an

individual case.

      38.    Plaintiff is not aware of any litigation concerning this controversy

already commenced by others who meet the criteria for class membership described

above.


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                                    Legal Claims

                               Count One:
   Violation of the TCPA’s Prohibition Against Automated Telemarketing

       39.    Plaintiff incorporates the allegations from all previous paragraphs as if

fully set forth herein.

       40.    The foregoing acts and omissions of Defendant and/or its affiliates,

agents, and/or other persons or entities acting on Defendant’s behalf constitute

numerous and multiple violations of the TCPA, 47 U.S.C. § 227, by making calls,

except for emergency purposes, to the telephone numbers of Plaintiff and members

of the Class using a pre-recorded message.

       41.    As a result of Defendant’s and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf’s violations of the TCPA, 47

U.S.C. § 227, Plaintiff and members of the Class presumptively are entitled to an

award of $500 in damages for each and every call made to their cellular telephone

numbers using a pre-recorded message, pursuant to 47 U.S.C. § 227(b)(3)(B).

       42.    Plaintiff and members of the Class are also entitled to and do seek

injunctive relief prohibiting Defendant and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf from making calls, except for




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emergency purposes, to any cellular telephone numbers using a pre-recorded

message in the future.

         43.   The Defendant’s violations were negligent and/or knowing.

                                     Relief Sought

         WHEREFORE, for himself and all class members, Plaintiff requests the

following relief:

         A.    Injunctive relief prohibiting Defendant and/or its affiliates, agents,

and/or other persons or entities acting on Defendant’ behalf from making calls,

except for emergency purposes, to any cellular telephone numbers using a pre-

recorded message in the future.

         B.    Because of Defendant’s violations of the TCPA, Plaintiff seeks for

himself and the other putative Class members $500 in damages for each violation

or—where such regulations were willfully or knowingly violated—up to $1,500

per violation, pursuant to 47 U.S.C. § 227(b)(3).

         C.    An order certifying this action to be a proper class action under

Federal Rule of Civil Procedure 23, establishing any appropriate classes the Court

deems appropriate, finding that Plaintiff is proper representatives of the Class, and

appointing the lawyers and law firms representing Plaintiff as counsel for the

Class;


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      D.    Such other relief as the Court deems just and proper.



                                 JURY DEMAND

      Plaintiff requests a jury trial as to all claims of the complaint so triable.


Dated: October 3, 2022           PLAINTIFF, on behalf of himself
                                 and others similarly situated,


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